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May 12, 2023

Melissa Rhoads, Clerk
United States District Court
Mitchell H. Cohen Building
& U.S. Courthouse
4th & Cooper Streets
Room 1050
Camden, NJ 08101

RE: Request to withdraw or strike documents
In re: McBride v NJ Pen et al. 1:23-cv-02044

Dear Ms. Rhoads,

Please be advised that I am formally reques ng to withdraw and have stricken from the docket ECF Nos.
19 and 20, which are le ers I ﬁled on May 9, 2023 and May 11, 2023, respec vely, and which
inadvertently disclosed the substance of conﬁden al communica ons between myself and counsel for
Google LLC.

Very truly yours,

Brian McBride
